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                         IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     )
    In re:                                                           ) Chapter 11
                                                                     )
    INVACARE CORPORATION, et al.,1                                   ) Case No. 23-90068 (CML)
                                                                     )
                              Debtors.                               ) (Jointly Administered)
                                                                     )

              NOTICE OF RESET OF OMNIBUS CLAIM OBJECTIONS HEARING

        The hearing on the following matters previously set for March 19, 2024, at 1:00 p.m.
(prevailing Central Time) has been reset to April 22, 2024, at 10:00 a.m. (prevailing Central
Time):
        1.     Reorganized Debtors’ Amended First Omnibus Objection to Certain Misclassified
Proofs of Claim [Docket No. 730]

                   o Response at Docket No. 744 – Ferriot Inc. (Claim No. 10212)

                   o Informal response – Seko Worldwide (Claim No. 137)

       2.    Reorganized Debtors’ Second Omnibus Objection to Certain Proofs of Claim (Non-
Debtor Claims) [Docket No. 717]

       3.    Reorganized Debtors’ Third Omnibus Objection to Certain Proofs of Claim
(Undetermined Claims) [Docket No. 718]

                   o Response at Docket No. 740 – Joerns and Dynamic Medical Systems LLC
                     (Claim No. 10389)

                   o Response at Docket No. 745 – Brian Ridgway (Claim No. 10332)

                   o Response at Docket No. 747 – Rafaela Leal Munoz, individually and as
                     Personal Representative and/or Administrator of the Estate of Luis Flores Leal,
                     Joe Leal, and Elvira Leal (Claim No. 10004)

                   o Informal Response – Helene Tanous (Claim No. 10052)



1     The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: Invacare Corporation (0965); Freedom Designs, Inc. (4857); and Adaptive Switch Laboratories, Inc.
      (6470). The corporate headquarters and the mailing address for the Debtors is 1 Invacare Way, Elyria, Ohio
      44035.




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       4.     Reorganized Debtors’ Amended Fourth Omnibus Objection to Certain Proofs of
Claim (Overstated Claims) [Docket No. 733]

                  o Responses Response at Docket No. 743 – Cellco Partnership d/b/a Verizon
                    Wireless (Claim No. 10309)

                  o Response at Docket No. 744 – Ferriot Inc. (Claim No. 10212)

                  o Response at Docket No. 752 – Impact Molding Clearwater, LLC (Claim No.
                    10262)

                  o Response at Docket No. 753 – Metal Impact South, LLC (Claim No. 10261)

                  o Informal Response – Uline (Claim No. 1)

                  o Informal Response – Seko Worldwide LLC (Claim No. 137)

                  o Informal Response – Gardner Denver Thomas Inc. (Claim No. 143)

                  o Informal Response – CAB Assignee of New Prokin Ltd (Claim No. 10060)

                  o Informal Response – CAB Assignee of Jiangsu Yuyue Medical Equipment &
                    Supply Co Ltd. (Claim No. 10373)

                  o Informal Response – CAB Assignee of Qingdao Forbest Import& Export Co
                    Ltd (Claim No. 10100)


       You may participate in the hearing only by an audio and video connection. Audio
communication will be by the use of the Court’s dial-in facility. You may access the facility at
(832) 917-1510. Once connected, you will be asked to enter the conference room number. Judge
Lopez’s conference room number is 590153. Video communication will be by use of the
GoToMeeting platform. Connect via the free GoToMeeting application or click the link on Judge
Lopez’s homepage. The meeting code is “JudgeLopez”. Click the settings icon in the upper right
corner and enter your name under the personal information setting.

       Hearing appearances must be made electronically in advance of both electronic and in-
person hearings. To make your appearance, click the “Electronic Appearance” link on Judge
Lopez’s homepage. Select the case name, complete the required fields and click “Submit” to
complete your appearance.




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  Houston, Texas
  Dated: March 19, 2024

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                                     Certificate of Service

        I certify that, on March 19, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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